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                                  4                                UNITED STATES DISTRICT COURT

                                  5                               NORTHERN DISTRICT OF CALIFORNIA

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                                  7     PALANTIR TECHNOLOGIES INC.,
                                                                                      Case No. 16-cv-5857-PJH
                                  8                  Plaintiff,

                                  9            v.                                     ORDER GRANTING MOTION TO
                                                                                      REMAND
                                  10    MARC L. ABRAMOWITZ, et al.,
                                  11                 Defendants.

                                  12
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                                  14         The motion of plaintiff Palantir Technologies, Inc. (“Palantir”) to remand the above-

                                  15   entitled action to the Superior Court of California, County of Santa Clara, came on for

                                  16   hearing before this court on February 15, 2017. Palantir appeared by its counsel John

                                  17   Zach, David Zifkin, Fiona Tang, and Adam Eltoukhy. Defendants Marc L. Abramowitz

                                  18   (“Abramowitz”), Marc Abramowitz Charitable Trust No. 2, and KT4 Partners LLC (“KT4”)

                                  19   appeared by their counsel Jonathan Pitt. Having read the parties’ papers and carefully

                                  20   considered their arguments and the relevant legal authority, the court hereby GRANTS

                                  21   the motion.

                                  22                                        BACKGROUND

                                  23         Palantir, which is based in Palo Alto, California, is a "software and services

                                  24   company that specializes in data analytics." First Amended Complaint (“FAC”) ¶¶ 8, 13.

                                  25   Founded in 2004, it is "a leader in its industry." FAC ¶ 13. Palantir's products are used

                                  26   by government, and by commercial and non-profit institutions "to solve problems the

                                  27   company's founders had not even dreamed of back in 2004." Id. Palantir focuses on

                                  28   developing and building "platforms for integrating, managing, and securing data, on top of
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                                  1    which it layers applications for fully interactive, human-driven machine-assisted analysis."

                                  2    FAC ¶ 14. Palantir is also involved in research and development, and it spends millions

                                  3    of dollars each year to "expand its business and seek out new opportunities." FAC ¶ 17.

                                  4           According to Palantir, this litigation relates to defendants' misappropriation of

                                  5    Palantir's proprietary trade secret and business information, concerning technologies for

                                  6                  (i) interpreting and analyzing data in the healthcare space for
                                                     clinical drug trials and for health insurance risk assessments
                                  7                  (the “Healthcare Technology”); (ii) cyber insurance technology
                                                     and related cybersecurity technology for use of customer
                                  8                  consortia to improve cybersecurity (the “Cyber Insurance and
                                                     Cybersecurity Technology”); and (iii) interpreting and
                                  9                  analyzing data in connection with natural resources
                                                     exploration and management (the “Natural Resources
                                  10                 Exploration Technology”).
                                  11   FAC ¶ 18. It also relates to defendants’ “misappropriation of Palantir’s trade secret

                                  12   business plans and customer lists related to these technologies.” Id.
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                                  13          Palantir’s initial funding came from a variety of sources, including the company's

                                  14   founders. FAC ¶ 23. Abramowitz was an early investor in Palantir, through KT4 and

                                  15   "other entities he controls." Id. Allegedly, "[t]hrough the years, Abramowitz was involved

                                  16   with the business of Palantir." FAC ¶ 24. However, "[r]ather than acting as a passive

                                  17   investor, he became a regular fixture[,]" visiting Palantir more than 30 times between

                                  18   2010-2015. Id. Indeed, "Abramowitz spent so much time at Palantir that in 2014 he

                                  19   requested an office at the company." Id.

                                  20          Abramowitz developed relationships with the company's founders, officers, and

                                  21   employees, and was allegedly “viewed as a trusted investor and advisor" by the founders

                                  22   and senior employees. FAC ¶ 25. According to Palantir, Abramowitz "often inquired

                                  23   about specific Palantir projects" and on several occasions, the company provided him –

                                  24   in his capacity as a shareholder and advisor – with information about technology

                                  25   including the Healthcare Technology, the Cyber Insurance and Cybersecurity

                                  26   Technology, and the Natural Resources Exploration Technology. FAC ¶ 26. Palantir

                                  27   asserts that it also provided Abramowitz – at his request – with information about

                                  28   proprietary business plans and customer lists for these technologies. Id.
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                                  1           Palantir and Abramowitz entered into confidentiality agreements. FAC ¶ 27.

                                  2    These agreements included provisions in Preferred Stock Transfer Agreements in 2012

                                  3    and 2015, and a Nondisclosure Agreement in 2014. FAC ¶¶ 28-30. Palantir asserts,

                                  4    however, by 2014, Abramowitz had embarked on a scheme to discover Palantir trade

                                  5    secrets and convert them for his own use and profit – in particular, trade secrets related

                                  6    to the Healthcare, Cyber Insurance and Cybersecurity, and Natural Resources

                                  7    Exploration Technologies. FAC ¶ 31; see also FAC ¶¶ 32-40 (Healthcare Technology),

                                  8    ¶¶ 41-40 (Cyber Insurance and Cybersecurity Technology); ¶¶ 50-57 (Natural Resources

                                  9    Exploration Technology).

                                  10          For example, Palantir alleges, in October and December 2014, Abramowitz filed

                                  11   patent applications (“the Patent Applications”) with the U.S. Patent and Trademark Office

                                  12   (“USPTO”), seeking to patent “systems, methods, and concepts” concerning Palantir’s
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                                  13   Healthcare Technology, Cyber Insurance and Cybersecurity Technology, and Natural

                                  14   Resources Exploration Technology, for which he falsely claimed to be the sole owner and

                                  15   inventor. FAC ¶¶ 38, 46-47, 51.

                                  16          Palantir asserts that "[i]n furtherance of [Abramowitz’s] scheme," KT4 sent Palantir

                                  17   a letter through counsel on August 16, 2016, demanding information pertaining to the

                                  18   Investors' Rights Agreement ("IRA"). FAC ¶ 58. Under the February 15, 2008 version of

                                  19   the IRA (the version invoked in the letter) and the July 8, 2015 version (the version in

                                  20   effect at the time Abramowitz sent the letter), the agreement granted certain rights to

                                  21   receive information from Palantir to anyone who was a "Major Investor" in Palantir

                                  22   (defined in the IRA as anyone with at least 5 million shares of certain types of Palantir

                                  23   stock). Id. In the August 16, 2016, KT4 stated that it was a Major Investor of Palantir,

                                  24   and demanded that Palantir produce documents and provide information to its counsel

                                  25   pursuant to the February 2008 IRA. FAC ¶ 59.

                                  26          Palantir asserts, however, that the IRA provides for Major Investors to receive

                                  27   such information, but does not allow for counsel or anyone other than a Major Investor to

                                  28   receive the information. Id. Palantir adds that even were KT4 a Major Investor (which
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                                  1    Palantir disputes), and even had the IRA not been again amended effective September 1,

                                  2    2016, Abramowitz's breaches of confidentiality and misappropriation of trade secrets

                                  3    would preclude him from obtaining confidential and proprietary information through the

                                  4    IRA. FAC ¶¶ 60-64.

                                  5           Palantir filed the original complaint on September 1, 2016, in Santa Clara Superior

                                  6    Court, and filed the FAC on September 23, 2016, alleging five state-law causes of action

                                  7    – (1) breach of contract (breach of confidentiality agreements); (2) breach of the implied

                                  8    covenant of good faith and fair dealing; (3) unfair competition, in violation of California

                                  9    Business & Professions Code § 17200 (“UCL”); (4) misappropriation of trade secrets in

                                  10   violation of California Civil Code § 3426, et seq.; and (5) declaratory relief (seeking a

                                  11   judicial declaration that KT4 is not entitled to Palantir's financial information pursuant to

                                  12   the IRA).
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                                  13          Defendants removed the case on October 11, 2016, asserting federal question

                                  14   jurisdiction. Defendants allege that the FAC is "artfully pled as a series of putative state-

                                  15   law claims[.]" Notice of Removal ¶ 2. They contend that Palantir seeks to have itself

                                  16   declared the sole inventor of three technologies that were in fact invented and developed

                                  17   by Abramowitz as the sole or joint inventor, and that involve no inventive contribution by

                                  18   Palantir or anyone working on Palantir’s behalf; that it seeks an order enjoining

                                  19   Abramowitz from continuing to pursue the three Patent Applications filed with the

                                  20   USPTO; and that it premises such relief, and the purported state-law causes of action,

                                  21   upon the assertion that it was Palantir, not Abramowitz, who invented the technologies at

                                  22   issue, and that Abramowitz’s alleged contrary representations to the USPTO were false.

                                  23   Id. Based on this, defendants claim that Palantir’s claims necessarily raise substantial

                                  24   questions of federal patent law that can be resolved only by a federal court. Id.

                                  25          On November 11, 2016, Palantir filed the present motion to remand, asserting that

                                  26   the FAC does not allege any federal claims, that its claims do not arise under federal law

                                  27   or raise a "substantial" issue of federal law, and that no issue of federal law is "actually

                                  28   disputed." Palantir also seeks attorney’s fees and costs pursuant to 28 U.S.C. § 1447(c).
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                                  1                                             DISCUSSION

                                  2    A.      Legal Standard

                                  3            A defendant may remove a civil action filed in state court if the action could have

                                  4    originally been filed in federal court. 28 U.S.C. § 1441. Federal courts are courts of

                                  5    limited jurisdiction, possessing only that power authorized by the Constitution and statute.

                                  6    Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377 (1994). A plaintiff may

                                  7    seek to have a case remanded to the state court from which it was removed if the district

                                  8    court lacks jurisdiction or if there is a defect in the removal procedure. 28 U.S.C.

                                  9    § 1447(c). The district court must remand the case if it appears before final judgment

                                  10   that the court lacks subject matter jurisdiction. Id.

                                  11           The removal statutes are construed restrictively, so as to limit removal jurisdiction.

                                  12   See Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 108-09 (1941). There is a
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                                  13   “strong presumption” against removal jurisdiction. Gaus v. Miles, Inc., 980 F.2d 564, 566

                                  14   (9th Cir. 1992). This means that the burden of establishing federal jurisdiction for

                                  15   purposes of removal is on the party seeking removal. Hunter v. Philip Morris USA, 582

                                  16   F.3d 1039, 1042 (9th Cir. 2009). Doubts as to removability are resolved in favor of

                                  17   remanding the case to state court. Matheson v. Progressive Specialty Ins. Co., 319 F.3d

                                  18   1089, 1090 (9th Cir. 2003).

                                  19   B.      Plaintiff's Motion

                                  20           Palantir contends that the FAC does not assert any federal claims, and that the

                                  21   five state-law claims arise from the misappropriation of its trade secrets by Abramowitz

                                  22   and KT4, which occurred prior to the filing of the Patent Applications. Palantir asserts

                                  23   that removal was improper, as the court lacks federal question jurisdiction over the state-

                                  24   law claims.

                                  25           Defendants oppose the motion, arguing that the case was properly removed.

                                  26   They assert that, while the “artfully pled complaint . . . carefully avoids calling any of its

                                  27   causes of action or demanded relief ‘federal’ in nature,” Palantir is seeking to have itself

                                  28   declared to be the sole inventor of three technologies actually invented by Abramowitz as
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                                  1    sole or joint inventor. Specifically, defendants point to the request for injunctive relief in

                                  2    the prayer for relief, and to the UCL claim. Defendants assert that Palantir is attempting

                                  3    to use the state courts to enjoin Abramowitz from pursuing protection in the USPTO for

                                  4    technologies he developed.

                                  5           In the prayer for relief, Palantir requests a preliminary and permanent injunction

                                  6    restraining defendants from (among other things) “continuing to pursue [d]efendants’

                                  7    patent applications[.]” Defendants refer to this as “the PTO injunction.” In their

                                  8    opposition to Palantir’s motion, defendants contend that only federal patent law can

                                  9    supply the substantive rules and procedures governing patent applications. They argue

                                  10   that because Palantir seeks this relief on the basis that it is the true inventor of the

                                  11   technologies in the Patent Applications,1 any court deciding whether to grant the "PTO

                                  12   Injunction" must therefore resolve the issue of inventorship.
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                                  13          In the UCL claim, Palantir alleges that defendants’ business acts and practices

                                  14   were fraudulent “because a reasonable person would likely be deceived by [d]efendant’s

                                  15   [sic] false statements and claims, including that they invented and own Palantir’s

                                  16   inventions.” FAC ¶ 38. Defendants argue that the FAC provides only one basis on which

                                  17   defendants could be found liable under the “fraudulent” prong of the UCL claim –

                                  18   Abramowitz's alleged false statements to the USPTO regarding his inventorship of the

                                  19   technologies listed in the Patent Applications. In addition, although they have not moved

                                  20   to dismiss any of the claims asserted in the FAC, defendants also contend in their

                                  21   opposition to Palantir’s motion that allegations of trade secret misappropriation cannot

                                  22   support an unfair competition claim under Business & Professions Code § 17200.

                                  23          The court finds that the motion to remand must be GRANTED. Federal courts

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                                  25      Defendants point to FAC ¶ 38 (alleging that the Patent Applications “falsely identif[y]
                                       Abramowitz as the “sole inventor”); FAC ¶ 3 (alleging that Abramowitz “made false claims
                                  26   to the [PTO]”); FAC ¶ 46 (asserting that the Patent Application based on the Cyber
                                       Insurance and Cybersecurity Technologies “fails to mention Palantir and does not include
                                  27   a single Palantir employee as an inventor”); FAC ¶ 51 (alleging that the Patent
                                       Application based on the Natural Resources Exploration Technology “falsely claim[ed]
                                  28   that he was the “sole owner and inventor”)).

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                                  1    have original and exclusive jurisdiction in “any civil action arising under any Act of

                                  2    Congress relating to patents.” 28 U.S.C. § 1338(a). "Under the well-pleaded complaint

                                  3    rule, . . . whether a claim arises under patent law must be determined from what

                                  4    necessarily appears in the plaintiff's statement of his own claim . . . , unaided by anything

                                  5    alleged in anticipation or avoidance of defenses which it is thought the defendant may

                                  6    interpose.” Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 809 (1988).

                                  7           A case can “arise under federal law” in two ways. Gunn v. Minton, 133 S.Ct. 1059,

                                  8    1064 (2013). First, “a case arises under federal law when federal law creates the cause

                                  9    of action asserted.” Id. This “creation test” accounts for “the vast bulk of suits that arise

                                  10   under federal law[.]” Id. (citation omitted). Second, even when a claim “finds its origins in

                                  11   state rather than federal law,” the claim nevertheless arises under federal law where it

                                  12   “necessarily raise[s] a stated federal issue, actually disputed and substantial, which a
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                                  13   federal forum may entertain without disturbing any congressionally approved balance of

                                  14   federal and state judicial responsibilities.” Id. at 1064-65; see also Christianson v. Colt

                                  15   Indus. Operating Corp., 486 U.S. 800, 809 (1988).

                                  16          Here, Palantir asserts claims of breach of contract, breach of the implied covenant,

                                  17   misappropriation of trade secrets under California law, declaratory relief, and unfair

                                  18   competition under California law. Federal law does not create any of these causes of

                                  19   action. Thus, the first means of determining federal subject matter jurisdiction does not

                                  20   apply, and only the second means is at issue in the present motion. As explained in

                                  21   Gunn, a state law claim provides a basis for federal jurisdiction where a federal issue is

                                  22   “(1) necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of resolution

                                  23   in federal court without disrupting the federal-state balance approved by Congress.” Id.,

                                  24   133 S.Ct. at 1065. All four of these requirements must be met. Id.

                                  25          To begin, the court considers the first factor – whether resolution of a federal issue

                                  26   is “necessary” to Palantir’s case. The only federal issue identified by defendants is the

                                  27   “patent law issue” of inventorship – whether Abramowitz is or is not the inventor and

                                  28   owner of the technology that is the subject of the pending patent applications, and
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                                  1    whether in filing the Patent Applications, he has falsely claimed to be the inventor.

                                  2           Defendants do not claim that any federal issue is implicated in the causes of action

                                  3    for breach of contract, breach of the implied covenant, misappropriation of trade secrets,

                                  4    or declaratory relief. They assert only that the “patent law issue” of inventorship is placed

                                  5    at issue by the request in the Prayer for Relief that the court enjoin defendants from

                                  6    “continuing to pursue [d]efendants’ patent applications,” and by the allegation in the UCL

                                  7    cause of action that “[d]efendants’ business acts and practices were fraudulent because

                                  8    a reasonable person would likely be deceived by [d]efendants’ false statements and

                                  9    claims, including that they invented and owned Palantir’s inventions.”

                                  10          A prayer for relief, standing alone, is not sufficient to create federal question

                                  11   jurisdiction. See Carter v. Health Net of Cal., Inc., 374 F.3d 830, 834 (9th Cir. 2004)

                                  12   (“[t]he valid exercise of federal question jurisdiction . . . depend[s] upon the substantive
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                                  13   claims raised[,]” not on any remedy requested). Moreover, the Prayer for Relief is

                                  14   broader than defendants suggest. For example, Palantir also seeks an order restraining

                                  15   defendants from “perpetuating the wrongful acts and conduct as set forth [in the FAC]”,

                                  16   and from “directly or indirectly retaining, using or disclosing Palantir's trade secret[s],

                                  17   confidential and/or proprietary information, and derivatives thereof."

                                  18          Further, in the fourth cause of action for violation of California’s Trade Secrets Act,

                                  19   Cal. Civ. Code § 3426, et seq., Palantir requests that the court "take affirmative acts to

                                  20   protect Palantir's trade secrets," which includes "ordering an inspection of [d]efendants'

                                  21   [document and data depositories] to determine the extent to which Palantir's trade

                                  22   secrets were wrongfully taken and/or disseminated[;]" "ordering the return of Palantir's

                                  23   confidential information[;]" and "prohibiting [d]efendants from continuing [their] unlawful

                                  24   actions." FAC ¶ 99.

                                  25          Palantir is plainly not seeking to compel any action by the USPTO, and does not

                                  26   request any declaration regarding inventorship. Rather, it seeks injunctive relief

                                  27   preventing defendants from using and disclosing its trade secrets in violation of California

                                  28   law. Palantir’s prayer for relief in this case is similar to the relief requested in Altavion,
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                                  1    Inc., v. Konica-Minolta Sys. Lab., Inc., 2008 WL 2020593 (N.D. Cal. May 8, 2008). In

                                  2    that case, the plaintiff filed suit in state court, alleging that the defendants had

                                  3    misappropriated its trade secrets, and had caused patent applications to be filed with the

                                  4    PTO, which were related to the plaintiff's trade secrets. The defendants removed the

                                  5    case, alleging that substantial questions of patent law existed. The plaintiff moved to

                                  6    remand.

                                  7           The claims asserted were all created by state statutes and common law. The

                                  8    court found that if there was federal jurisdiction over the case, it could be found – if at all

                                  9    – only if the plaintiff's right to relief “necessarily depend[ed] on resolution of a substantial

                                  10   question of federal patent law, in that patent law is a necessary element of the well-

                                  11   pleaded claims." Id. 2008 WL 2020593 at *2-3. The court rejected the plaintiff's theory

                                  12   that its request for injunctive relief "necessarily depends on a resolution of 'inventorship'"
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                                  13   noting that "each of plaintiff's claims may be a adjudicated and appropriate monetary and

                                  14   injunctive relief may be awarded without resolution of 'inventorship' in the technical sense

                                  15   used in patent law." Id. at *7. Similarly, in this case, Abramowitz’s conduct before the

                                  16   USPTO may simply provide evidence supporting the state-law claims asserted in this

                                  17   case, but such evidence does not convert this action into a case “arising under” federal

                                  18   patent laws.

                                  19          Nor does the UCL claim necessarily raise a federal issue sufficient to confer

                                  20   federal question jurisdiction. Defendants assert that the “only” basis for the UCL claim is

                                  21   Abramowitz's alleged false statements to the USPTO. The court notes, however, that the

                                  22   FAC alleges that defendants' conduct violated the "unlawful" prong of § 17200 because it

                                  23   resulted in violations of state common law, including breach of contract and breach of the

                                  24   implied covenant, as part of an improper effort to deceive and mislead third parties by

                                  25   marketing Palantir's non-trade secret confidential information as their own, see FAC

                                  26   ¶¶ 49, 86, 88; that defendants misled Palantir when they promised not to use or disclose

                                  27   such information "except for the benefit of the company[,]" see FAC ¶¶ 28-30, 71; and

                                  28   that Abramowitz sought to fraudulently associate himself with Palantir by filing a
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                                  1    trademark on "Shire," a term from the same fictional universe as "Palantir," in an attempt

                                  2    to suggest a connection with a company where none existed, see FAC ¶ 56.

                                  3           These allegations are independent of the trade secret misappropriation claims,

                                  4    have nothing to do with the Patent Applications, and are unrelated to Abramowitz's

                                  5    alleged false statements to the USPTO. The mere fact that the FAC alleges that

                                  6    defendants improperly used and disclosed Palantir's trade secrets in the Patent

                                  7    Applications is not sufficient to create federal jurisdiction over the UCL claim. This is

                                  8    because resolution of the issue of inventorship is not necessary to resolution of the

                                  9    entirety of the UCL claim, which alleges that defendants’ business acts and practices

                                  10   were “unlawful” under the UCL because they resulted in “violations of state common law

                                  11   . . . including breach of contract and breach of the implied covenant of good faith and fair

                                  12   dealing[,]” FAC ¶ 86, and were “fraudulent” because “a reasonable person would likely be
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                                  13   deceived by [d]efendants’ false statements and claims,” FAC ¶ 87, which included false

                                  14   representations that they would maintain Palantir’s confidentiality and would not pass

                                  15   Palantir’s trade secrets off as their own, FAC ¶¶ 18, 28-30, 45, 48, 52, 55.

                                  16          As in the Altavion case, "[d]efendants' allegedly fraudulent conduct before the

                                  17   USPTO will no doubt be a large part of the proceedings in this action," but the

                                  18   defendants’ conduct before the USPTO does not form the exclusive theory upon which

                                  19   Palantir’s claims are based. See id., 2008 WL 2020593 at *6. In general, if a cause of

                                  20   action asserted in a well-pleaded complaint can succeed on any theory that does not

                                  21   implicate or require a resolution of an issue of federal patent law, that cause of action

                                  22   does not arise under the patent laws for purposes of § 1338(a), even if other theories of

                                  23   recovery are directly dependent on patent law. See Christianson, 486 U.S. at 810 (citing

                                  24   Franchise Tax Bd. of State of Cal. v. Construction Laborers Vacation Trust for So. Cal.,

                                  25   463 U.S. 1, 26 (1983)).

                                  26          As for defendants’ contention that a claim under § 17200 cannot be premised on

                                  27   an allegation of misappropriation of trade secrets, and their argument at the hearing that

                                  28   Palantir’s UCL claim is therefore “dismissible” and “needs to be dismissed by a federal
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                                  1    court on that basis,” see Hearing Transcript, Feb. 15, 2017 (Doc. 39) at 14, the court

                                  2    notes that defendants have not filed a motion to dismiss. The same is true with regard to

                                  3    defendants’ contention that the UCL is not pled with sufficient particularity, as required by

                                  4    Federal Rule of Civil Procedure 9(b). The question whether the UCL cause of action

                                  5    states a claim is not before the court in the present motion for remand, and the court

                                  6    declines to base its ruling on a legal theory that has not been properly presented.

                                  7           Turning to the second factor, the court finds that the FAC does not create an

                                  8    "actually disputed" issue of federal law. See Gunn, 133 S.Ct. at 1065-66. There is no

                                  9    "actually disputed" issue of federal law because the issue of inventorship under federal

                                  10   patent law cannot be decided in this action. As discussed below, the appropriate vehicle

                                  11   for resolving issues of inventorship is a "derivation proceeding" before the USPTO, where

                                  12   Palantir claims it has already initiated a proceeding as to one of the Patent Applications.
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                                  13   Accordingly, inventorship – the only federal patent issue raised by defendants in their

                                  14   papers – is not "actually disputed" in this case.

                                  15          Turning to the third factor, the court finds that the FAC does not raise any federal

                                  16   issue that is “substantial.” See Gunn, 133 S.Ct. at 1065-66. Federal question jurisdiction

                                  17   “demands not only a contested federal issue, but a substantial one, indicating a serious

                                  18   federal interest in claiming the advantages thought to be inherent in a federal forum.”

                                  19   Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 313 (2005). This

                                  20   inquiry looks to "the importance of the issue to the federal system as a whole," rather

                                  21   than "the importance of the issue to the plaintiff's case." Gunn, 133 S.Ct. at 1066.

                                  22          Here, defendants contend that the FAC raises claims related to the legal question

                                  23   of "inventorship" under federal law. The Federal Circuit has articulated three

                                  24   nonexclusive factors that "may help to inform the substantiality inquiry" under the Gunn

                                  25   test – (1) whether a "pure issue of federal law" is "dispositive of the case;" (2) whether

                                  26   "the court's resolution of the issue will control 'numerous other cases;'" and (3) "whether

                                  27   'the Government has a direct interest in the availability of a federal forum to vindicate its

                                  28   own administrative action.'" See NeuroRepair, Inc. v. The Nath Law Grp., 781 F.3d 1340,
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                                  1    1345 (Fed. Cir. 2015). Because defendants bear the burden of showing that removal

                                  2    was proper, it is also defendants' burden to show that these factors support jurisdiction in

                                  3    this case. However, they have failed to do so.

                                  4           Palantir’s state-law causes of action for misappropriation of trade secrets and

                                  5    breach of contract do not raise any “substantial” issue related to the federal system of

                                  6    patent law. There is no "pure issue of federal law" which is dispositive of any of Palantir’s

                                  7    claims, because all the claims are state statutory or common-law claims, which can be

                                  8    resolved without reaching the issue of inventorship. Further, the outcome of the state-law

                                  9    issues at stake here will have little or no impact on another case, particularly a case

                                  10   brought in federal court, and there is no question of governmental interest here.

                                  11          Turning to the fourth factor, the court finds that allowing Palantir's case to remain

                                  12   in federal court would disrupt the federal-state balance of power. See Gunn, 133 S.Ct. at
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                                  13   1068; see also Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308,

                                  14   313-14 (2005). “Arising under” jurisdiction exists only “where the vindication of a right

                                  15   under state law necessarily turn[s] some construction of federal law[,]” Merrell Dow

                                  16   Pharms. Inc. v. Thompson, 478 U.S. 804, 808 (1986), and it is not enough that the court

                                  17   may have to interpret federal laws or regulations. Improper disclosure of trade secrets

                                  18   constitutes an independent violation of California's Uniform Trade Secrets Act, and

                                  19   California courts may enjoin such actual or threatened trade secret misappropriation. As

                                  20   previously noted, the Patent Applications may provide evidence of defendants'

                                  21   misappropriations of trade secrets, but that that does not transform the state-law claims

                                  22   into the small category of cases in which "arising under" jurisdiction lies. See Gunn, 133

                                  23   S.Ct. at 1064.

                                  24          Finally, and in the court’s view, most importantly, defendants have not explained

                                  25   how this case could be maintained in federal court under the court's exclusive jurisdiction

                                  26   over patent claims when no patent has issued on the applications filed by Abramowitz.

                                  27   Defendants accuse Palantir of having "artfully pled" the complaint to include only state

                                  28   law claims, see Notice of Removal ¶ 2, but they do not specify a federal cause of action
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                                  1    that Palantir should or could have pled. While it is true that "issues of inventorship,

                                  2    infringement, validity, and enforceability present sufficient substantial questions of federal

                                  3    patent law to support jurisdiction under section 1338(a)," see Bd. of Regents, Univ. of

                                  4    Tex. Sys. v. Nippon Tel. & Tel., 414 F.3d 1358, 1363 (Fed. Cir. 2005), a dispute involving

                                  5    a request for equitable relief relating to a claim of inventorship in connection with a

                                  6    pending patent application can only be resolved by the Director of the USPTO. See HIF

                                  7    Bio, Inc. v. Yung Shin Pharms. Indus. Co., Ltd., 600 F.3d 1347, 1353 (Fed. Cir. 2010).

                                  8           Palantir could not have asserted a claim of correction of inventorship, as no patent

                                  9    has issued. 35 U.S.C. § 116. There is no private right of action to challenge inventorship

                                  10   of pending patent applications. See HIF Bio, 600 F.3d at 1354. Under 35 U.S.C. § 116,

                                  11   "[w]henever through error a person is named in an application for patent as the inventor,

                                  12   or through error an inventor is not named in an application, the Director may permit the
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                                  13   application to be amended accordingly, under such terms as he prescribes." The text of

                                  14   § 116 grants the Director of the USPTO the authority to take certain actions, but plainly

                                  15   does not create a cause of action in the district courts to modify inventorship on pending

                                  16   patent applications. See Eli Lilly & Co. v. Aradigm Corp., 376 F.3d 1352, 1357 n.1 (Fed.

                                  17   Cir. 2004). On the other hand, once the patent issues, the statute that allows the Director

                                  18   of the USPTO to correct the named inventor on a patent, 35 U.S.C. § 116, also provides

                                  19   a private right of action to challenge inventorship, within the original jurisdiction of the

                                  20   federal district court. See HIF Bio, 600 F.3d at 1354.

                                  21          There can thus be no "inventorship" challenge under the procedural facts of this

                                  22   case. And, in any event, the state-law claims must necessarily be resolved without

                                  23   reliance on patent law because patent law is not a necessary element of any of the

                                  24   claims as pled. See Christianson, 486 U.S. at 809. The fact that Palantir's proposed

                                  25   remedy may tangentially involve issues touching on patent ownership does not convert

                                  26   the state law claims into federal law claims – particularly where no patents have issued.

                                  27   Moreover, this court lacks the authority to determine inventorship of patent applications.

                                  28   Removal was improper, and the case must be remanded.
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                                  1                                      CONCLUSION

                                  2          In accordance with the foregoing, the motion to remand is GRANTED. The motion

                                  3    for fees and costs is DENIED.

                                  4

                                  5    IT IS SO ORDERED.

                                  6    Dated: March 9, 2017

                                  7                                            __________________________________
                                                                               PHYLLIS J. HAMILTON
                                  8                                            United States District Judge
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